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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     TOOLEY FAMILY LLC, a
                                                  325).
18   California limited liability company;
     and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant TOOLEY FAMILY LLC, a California limited liability company; and
24
     Does 1-10 (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
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                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   TOOLEY FAMILY LLC, a California limited liability company, owned the
11   property located at 60 N Mountain Ave., Upland, CA 91786 (“Property”) on or
12   around July 13, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   TOOLEY FAMILY LLC, a California limited liability company, owns the Property
15   currently.
16          4.     Plaintiff does not know the true name of Defendant, its business
17   capacity, its ownership connection to the Property serving Tequila Hoppers Bar &
18   Grill (“Business”), or its relative responsibilities in causing the access violations
19   herein complained of. Plaintiff is informed and believes that each of the Defendants
20   herein, including Does 1 through 10, inclusive, is responsible in some capacity for
21   the events herein alleged, or is a necessary party for obtaining appropriate relief.
22   Plaintiff will seek leave to amend when the true names, capacities, connections, and
23   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          5.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
                                                  2
                                             COMPLAINT
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          8.     Plaintiff went to the Business on or about July 13, 2020 for the dual
10   purpose of viewing menu items and to confirm that this public place of
11   accommodation is accessible to persons with disabilities within the meaning federal
12   and state law.
13          9.     The Business is a facility open to the public, a place of public
14   accommodation, and a business establishment.
15          10.    Parking spaces are one of the facilities, privileges, and advantages
16   reserved by Defendants to persons at the Property serving the Business.
17          11.    Unfortunately, although parking spaces were one of the facilities
18   reserved for patrons, there were no designated parking spaces available for persons
19   with disabilities that complied with the 2010 Americans with Disabilities Act
20   Accessibility Guidelines (“ADAAG”) on July 13, 2020.
21          12.    At that time, instead of having architectural barrier free facilities for
22   patrons with disabilities, Defendants have: no ADASAD compliant van accessible
23   parking signage in violation of Section 502.6; an accessible parking space in front of
24   the main entrance that has a slope exceeding 5% where 502.4 prohibit a slopes
25   excessive of 1:48; nothing to prevent parked vehicles from obstructing the accessible
26   route from the parking area to the entrance (Parking spaces and access aisles shall be
27   designed so that cars and vans, when parked, cannot obstruct the required clear
28   width of adjacent accessible routes per Section 502.7. Advisory 502.7 Relationship
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                                             COMPLAINT
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 1   to Accessible Routes: Wheel stops are an effective way to prevent vehicle overhangs
 2   from reducing the clear width of accessible route); a curb ramp that projects into the
 3   accessible parking space access aisle in violation of Section 406.5 (which requires
 4   that curb ramps and the flared sides of curb ramps shall be located so that they do
 5   not project into vehicular traffic lanes, parking spaces, or parking access aisles); the
 6   slope of the curb ramp that flares at the curb ramp connecting the accessible parking
 7   spaces to the accessible route exceeds 14% in violation of Section 406.3 (which
 8   requires that the slope does not exceed 10%); and, no accessible routes connecting
 9   the parking to the main entrance or elements within the facility as required by
10   Section 206.2.2 (which requires that at least one accessible route shall connect
11   accessible buildings, accessible facilities, accessible elements, and accessible spaces
12   that are on the same site, and 206.1 requiring access to the site arrival point (main
13   entrance) from the public street).
14         13.    Subject to the reservation of rights to assert further violations of law
15   after a site inspection found infra, Plaintiff asserts there are additional ADA
16   violations which affect him personally.
17         14.    Plaintiff is informed and believes and thereon alleges Defendants had
18   no policy or plan in place to make sure that there was compliant accessible parking
19   reserved for persons with disabilities prior to July 13, 2020.
20         15.    Plaintiff is informed and believes and thereon alleges Defendants have
21   no policy or plan in place to make sure that the designated disabled parking for
22   persons with disabilities comport with the ADAAG.
23         16.    Plaintiff personally encountered these barriers. The presence of these
24   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
25   conditions at public place of accommodation and invades legally cognizable
26   interests created under the ADA.
27         17.    The conditions identified supra in paragraph 12 are necessarily related
28   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
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                                            COMPLAINT
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 1   the major life activities of walking, standing, ambulating, sitting, in addition to
 2   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
 3   placard; and because the enumerated conditions relate to the use of the accessible
 4   parking, relate to the slope and condition of the accessible parking and accessible
 5   route to the accessible entrance, and, relate to the proximity of the accessible parking
 6   to the accessible entrance.
 7          18.      As an individual with a mobility disability who at times relies upon a
 8   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 9   accommodations have architectural barriers that impede full accessibility to those
10   accommodations by individuals with mobility impairments.
11          19.      Plaintiff is being deterred from patronizing the Business and its
12   accommodations on particular occasions, but intends to return to the Business for the
13   dual purpose of availing himself of the goods and services offered to the public and
14   to ensure that the Business ceases evading its responsibilities under federal and state
15   law.
16          20.      Upon being informed that the public place of accommodation has
17   become fully and equally accessible, he will return within 45 days as a “tester” for
18   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
19   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
20          21.      As a result of his difficulty experienced because of the inaccessible
21   condition of the facilities of the Business, Plaintiff was denied full and equal access
22   to the Business and Property.
23          22.      The Defendants have failed to maintain in working and useable
24   conditions those features required to provide ready access to persons with
25   disabilities.
26          23.      The U.S. Department of Justice has emphasized the importance of
27   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
28   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
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                                             COMPLAINT
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 1   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 2   Coronavirus Disease 2019 (COVID-19) found at
 3   https://www.ada.gov/aag_covid_statement.pdf.
 4         24.    The violations identified above are easily removed without much
 5   difficulty or expense. They are the types of barriers identified by the Department of
 6   Justice as presumably readily achievable to remove and, in fact, these barriers are
 7   readily achievable to remove. Moreover, there are numerous alternative
 8   accommodations that could be made to provide a greater level of access if complete
 9   removal were not achievable.
10         25.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
11   alleges, on information and belief, that there are other violations and barriers in the
12   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
13   notice regarding the scope of this lawsuit, once he conducts a site inspection.
14   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
15   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
16   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
17   have all barriers that relate to his disability removed regardless of whether he
18   personally encountered them).
19         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
20   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
21                               FIRST CAUSE OF ACTION
22   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
23     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
24                                        (P.L. 110-325)
25         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
26   above and each and every other paragraph in this Complaint necessary or helpful to
27   state this cause of action as though fully set forth herein.
28         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
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                                            COMPLAINT
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 1   privileges, advantages, accommodations, facilities, goods, and services of any place
 2   of public accommodation are offered on a full and equal basis by anyone who owns,
 3   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 4   Discrimination is defined, inter alia, as follows:
 5                a.     A failure to make reasonable modifications in policies, practices,
 6                       or procedures, when such modifications are necessary to afford
 7                       goods, services, facilities, privileges, advantages, or
 8                       accommodations to individuals with disabilities, unless the
 9                       accommodation would work a fundamental alteration of those
10                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.     A failure to remove architectural barriers where such removal is
12                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
13                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
14                       Appendix "D".
15                c.     A failure to make alterations in such a manner that, to the
16                       maximum extent feasible, the altered portions of the facility are
17                       readily accessible to and usable by individuals with disabilities,
18                       including individuals who use wheelchairs, or to ensure that, to
19                       the maximum extent feasible, the path of travel to the altered area
20                       and the bathrooms, telephones, and drinking fountains serving
21                       the area, are readily accessible to and usable by individuals with
22                       disabilities. 42 U.S.C. § 12183(a)(2).
23         29.    Any business that provides parking spaces must provide accessible
24   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
25   shall be at the same level as the parking spaces they serve. Changes in level are not
26   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
27   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
28   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
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 1   designated disabled parking space is a violation of the law and excess slope angle in
 2   the access pathway is a violation of the law.
 3         30.       A public accommodation must maintain in operable working condition
 4   those features of its facilities and equipment that are required to be readily accessible
 5   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 6         31.       Here, the failure to ensure that accessible facilities were available and
 7   ready to be used by Plaintiff is a violation of law.
 8         32.       Given its location and options, Plaintiff will continue to desire to
 9   patronize the Business but he has been and will continue to be discriminated against
10   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
11   the barriers.
12                                SECOND CAUSE OF ACTION
13       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
14         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
15   above and each and every other paragraph in this Complaint necessary or helpful to
16   state this cause of action as though fully set forth herein.
17         34.       California Civil Code § 51 et seq. guarantees equal access for people
18   with disabilities to the accommodations, advantages, facilities, privileges, and
19   services of all business establishments of any kind whatsoever. Defendants are
20   systematically violating the UCRA, Civil Code § 51 et seq.
21         35.       Because Defendants violate Plaintiff’s rights under the ADA,
22   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
23   52(a).) These violations are ongoing.
24         36.       Plaintiff is informed and believes and thereon alleges that Defendants’
25   actions constitute discrimination against Plaintiff on the basis of a disability, in
26   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
27   previously put on actual or constructive notice that the Business is inaccessible to
28   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
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                                              COMPLAINT
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 1   inaccessible form, and Defendants have failed to take actions to correct these
 2   barriers.
 3                                         PRAYER
 4   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 5   follows:
 6         1.     A preliminary and permanent injunction enjoining Defendants from
 7   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
 8   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 9   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
10   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
11   under the Disabled Persons Act (Cal. C.C. §54) at all.
12         2.     An award of actual damages and statutory damages of not less than
13   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
14         3.     An additional award of $4,000.00 as deterrence damages for each
15   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
16   LEXIS 150740 (USDC Cal, E.D. 2016); and,
17         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
18   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
19

20                               DEMAND FOR JURY TRIAL
21         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
22   raised in this Complaint.
23

24   Dated: August 27, 2020                  MANNING LAW, APC
25

26                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
27                                       Attorney for Plaintiff
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                                                9
                                           COMPLAINT
